Case No. 1:20-cv-00742-DDD-KAS            Document 475        filed 05/21/25    USDC Colorado
                                           pg 1 of 3




                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO

Civil Action No. 1:20-cv-742-DDD-KLM

JAMES COREY GOODE, individually, and
GOODE ENTERPRISE SOLUTIONS INC.,

Plaintiffs,

v.

GAIA, INC.,

Defendant.


                          DECLARATION OF ANGELA M. DUNAY
                       IN SUPPORT OF GAIA’S MOTION TO COMPEL
               THIRD-PARTY DAVID WILCOCK’S COMPLIANCE WITH SUBPOENA


        Angela M. Dunay declares under penalty of perjury, pursuant to 28 U.S.C. § 1746, as

follows:

        1.     I am an associate at the firm of Davis+Gilbert LLP (“Davis+Gilbert”), attorneys for

Defendant Gaia, Inc. (“Gaia”).

        2.     I respectfully submit this declaration in support of Gaia’s Motion to Compel Third-

Party David Wilcock’s Compliance with Subpoena.

        3.     I am over 18 years of age and personally aware of the facts in this declaration or

believe them to be true based on my review of Davis+Gilbert records.

        4.     The subpoena, served on third-party David Wilcock on December 13, 2024, is

attached hereto as Exhibit A.




                                                1
Case No. 1:20-cv-00742-DDD-KAS            Document 475         filed 05/21/25     USDC Colorado
                                           pg 2 of 3




       5.      The Return of Service of the subpoena on David Wilcock is attached hereto as

Exhibit B.

       6.      My April 15, 2025, email to David Wilcock’s counsel, Raffi A. Nahabedian, is

attached hereto as Exhibit C.

               I declare under penalty of perjury that the foregoing is true and correct to the best

of my knowledge.
               Executed on May 21, 2025:
                                                              /s/ Angela M. Dunay
                                                             Angela M. Dunay




                                                 2
Case No. 1:20-cv-00742-DDD-KAS            Document 475        filed 05/21/25     USDC Colorado
                                           pg 3 of 3




                                CERTIFICATE OF SERVICE

       I hereby certify that on May 21, 2025, I caused a copy of the foregoing Declaration to be

served via ECF on all other parties by filing it on the Court’s ECF system and will cause a copy to

be served on third-party David Wilcock by personal service at 1455 Ridge Road, Nederland, CO

80466, or wherever he may be found, and by email to his counsel, Raffi A. Nahabedian.



                                              /s/ Angela M. Dunay
                                              Angela M. Dunay




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